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                                                                      United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                                                                          March 05, 2024
                   IN THE UNITED STATES DISTRICT COURT
                                                                        Nathan Ochsner, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION


U.S. BANK NATIONAL ASSOCIATION,         §
AS TRUSTEE FOR CSMC MORTGAGE-           §
BACKED TRUST 2007-3, AND PHH            §
MORTGAGE CORPORATION,                   §
INDIVIDUALLY AND AS                     §
SUCCESSOR-IN-INTEREST TO                §
OCWEN LOAN SERVICING, LLC               §
                                        §
Plaintiffs,                             §
                                        §
v.                                      §         Civil Action No.: 4:19-cv-2402
                                        §
JOSEF M. LAMELL AKA J.M. ARPAD          §
LAMELL,                                 §
                                        §
Defendant.                              §


                                    ORDER

       This case was reinstated to the Court’s active docket on July 12, 2023. ECF

140. Thereafter, the case was referred for settlement conferences before a United

States Magistrate Judge. ECF 145; ECF 150. Settlement conferences were held on

October 18, 2023 and February 2, 2024, but the parties did not reach a settlement

agreement. ECF 148; ECF 152. It is now necessary to set a schedule to prepare this

case for trial. It is therefore

       ORDERED that the Court will hold a telephone status and scheduling

conference on March 18, 2024 at 11:30 a.m. The parties are to confer prior to the
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conference to determine if they can agree on an amended scheduling order to govern

this case and, if so, to submit a proposed agreed scheduling order prior to the

conference.



Signed on March 05, 2024, at Houston, Texas.



                                                    Christina A. Bryan
                                               United States Magistrate Judge
